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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division

EUGENE GADSON                                        )
                                                     )
        Plaintiff,                                   )
                                                     )
v.                                                   )                        3:16CV00882
                                                             Civil Action No. _________
                                                     )
UNITED STATES OF AMERICA,                            )
                                                     )
        Defendant.                                   )

                                          COMPLAINT

        EUGENE GADSON, by counsel, states as follows for his Complaint against the

Defendant, United States of America:

                                     Jurisdiction and Venue

        1.      This action arises under the Federal Tort Claims Act, 28 U.S.C. § 2671 et seq.

This Court is vested with jurisdiction to adjudicate this dispute pursuant to 28 U.S.C. § 1346(b).

        2.      In compliance with 28 U.S.C. § 2675, Eugene Gadson (“Mr. Gadson”) submitted

a notice of administrative claim with the Department of Veteran Affairs (“VA”), which is

attached as Exhibit A. That claim was received by the VA Office of Chief Counsel on March 15,

2016. After further investigation, Mr. Gadson submitted an amended claim on June 9, 2016,

which is attached as Exhibit B.

        3.      The VA Office of Chief Counsel denied Mr. Gadson’s claim on August 24, 2016.

        4.      Accordingly, Mr. Gadson’s claim is ripe to be litigated in this Court pursuant to

28 U.S.C. § 2675(a).

        5.      Mr. Gadson certifies that he is fully compliant with Virginia Code § 8.01-20.1.
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          6.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1402(b) because

the cause of action arose within the Eastern District of Virginia, Richmond Division, at the

Hunter Holmes McGuire VA Medical Center (“McGuire VAMC”) in Richmond, Virginia.

          7.    Plaintiff, Mr. Gadson, is an adult resident of the Commonwealth of Virginia.

          8.    At all times relevant to this action, the United States owned and operated the

McGuire VAMC.

          9.    At all times relevant to this action, the agents, servants, employees and personnel

of the United States were acting within the course and scope of their employment in providing

medical care and treatment to Mr. Gadson. Mr. Gadson was a veteran of the United States Army

and was entitled to such care and treatment at the McGuire VAMC and its affiliated outpatient

care centers.

          10.   The medical care described as follows was provided to Mr. Gadson at the

McGuire VAMC and/or its affiliated clinics unless otherwise stated.

                                           Allegations

          11.   Mr. Gadson restates and re-alleges paragraphs 1 through 10 as if fully stated

herein.

          12.   Mr. Gadson is a 34-year-old Army veteran who has suffered testicular loss,

permanent neurological damage, infertility, and disability following a vasovasostomy (reverse

vasectomy) performed in a negligent manner by his healthcare providers at the McGuire VAMC

on August 20, 2015.

          13.   During the spring of 2015, Mr. Gadson, then 33 years old, decided that he wanted

to start a family with his newlywed wife, Ahlece Leerdam-Gadson (“Mrs. Leerdam-Gadson”).

However, in 2009 Mr. Gadson had undergone a vasectomy.




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       14.    In an effort to regain his fertility, Mr. Gadson met with doctors at the McGuire

VAMC in May 2015 to discuss his options. During a May 1, 2015 meeting with two McGuire

VAMC doctors, Joseph Reza Habibi, M.D. and John T. Roseman, M.D., Mr. Gadson decided to

undergo a vasovasostomy to reverse the effects of his earlier vasectomy and regain his ability to

conceive children.

       15.    During pre-operative testing, no abnormalities were identified or communicated

to Mr. Gadson to indicate there were conditions creating an elevated risk for his vasovasostomy.

       16.    Upon information and belief, prior to August 20, 2015, the United States, through

its agents, servants or employees at the McGuire VAMC and its affiliates, selected Adam P.

Klausner, M.D. (“Dr. Klausner”), Dr. Shaoquin Zhou (“Dr. Zhou”), and Jay Edmund Sulek,

M.D. (“Dr. Sulek”) to perform Mr. Gadson’s vasovasostomy.

       17.    Upon information and belief, neither Dr. Klausner, nor Dr. Zhou, nor Dr. Sulek

was qualified to perform Mr. Gadson’s vasovasostomy.

       18.    Upon information and belief, neither Dr. Klausner, nor Dr. Zhou, nor Dr. Sulek

was a fellowship-trained microsurgeon.

       19.    Upon information and belief, Dr. Klausner had not performed more than ten

vasovasostomies in the twelve months preceding Mr. Gadson’s vasovasostomy.

       20.    Upon information and belief, Dr. Zhou had not performed more than ten

vasovasostomies in the twelve months preceding Mr. Gadson’s vasovasostomy.

       21.    Upon information and belief, Dr. Sulek had not performed more than ten

vasovasostomies in the twelve months preceding Mr. Gadson’s vasovasostomy.

       22.    On the morning of August 20, 2015, Mr. Gadson presented to the McGuire

VAMC for his vasovasostomy.




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       23.     At approximately 6:53 a.m., Dr. Sulek authored a Urology Pre-Op Note, co-

signed at 6:28 p.m. by Dr. Klausner, an attending surgeon – almost seven hours after Mr.

Gadson’s surgery was completed.

       24.     Nearly an hour after signing the Urology Pre-Op Note, at 7:41 a.m., Dr. Sulek

wrote an Addendum to his note.

       25.     This Addendum, among other things, describes a first person exchange with Mr.

Gadson, in which Dr. Sulek claims: “I told [Mr. Gadson] that he has to be sure that this is what

he really wants given that it is a purely elective surgery with significant risks[.]”

       26.     Mr. Gadson and Mrs. Leerdam-Gadson, who were both present during the pre-

operative consent meetings, have no recollection of such a discussion with Dr. Sulek or anyone

else prior to the surgery. Mr. Gadson and Mrs. Leerdam-Gadson both assert that they never met

or spoke with Dr. Sulek prior to the surgery.

       27.     The surgery ran approximately one hour over the projected two-hour time.

       28.     From approximately 8:52 a.m. until 11:42 a.m., on August 20, 2016, Dr. Zhou

and Dr. Klausner performed a bilateral vasovasostomy on Mr. Gadson.

       29.     Over the course of Mr. Gadson’s vasovasostomy, medical providers at McGuire

VAMC, including Dr. Klausner, Dr. Zhou, and Dr. Sulek, made a series of mistakes that not only

caused Mr. Gadson’s injuries, but also reflect their lack of qualifications to have performed his

vasovasostomy.

       30.     As the first mistake during the procedure, neither Dr. Klausner, nor Dr. Zhou, nor

Dr. Sulek used an operating microscope for the vasal dissection.

       31.     When performing a vasal dissection, the standard of care is to use an operating

microscope.




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        32.     Upon information and belief, as of August 20, 2015, Dr. Klausner did not know or

believe that using an operating microscope when performing a vasal dissection lowers the risk of

complications, including arterial damage.

        33.     Upon information and belief, as of August 20, 2015, Dr. Zhou did not know or

believe that using an operating microscope when performing a vasal dissection lowers the risk of

complications, including arterial damage.

        34.     Upon information and belief, as of August 20, 2015, Dr. Sulek did not know or

believe that using an operating microscope when performing a vasal dissection lowers the risk of

complications, including arterial damage.

        35.     By not using an operating microscope for the vasal dissection, Dr. Klausner, Dr.

Zhou, and Dr. Sulek elevated Mr. Gadson’s risk of injury to his vasal arteries.

        36.     As the second mistake during the procedure, Dr. Zhou and/or Dr. Klausner

excised the vasal clips and the atretic segments without using an operating microscope.

        37.     When excising vasal clips during a vasovasostomy, the standard of care is to use

magnification to identify vasculature and avoid injury.

        38.     Upon information and belief, as of August 20, 2015, Dr. Klausner did not know or

believe that using magnification when excising vasal clips during a vasovasostomy reduced the

risk of arterial injury to the patient.

        39.     Upon information and belief, as of August 20, 2015, Dr. Zhou did not know or

believe that using magnification when excising vasal clips during a vasovasostomy reduced the

risk of arterial injury to the patient.




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        40.     Upon information and belief, as of August 20, 2015, Dr. Sulek did not know or

believe that using magnification when excising vasal clips during a vasovasostomy reduced the

risk of arterial injury to the patient.

        41.     By not using a microscope when excising the vasal clips from Mr. Gadson’s vas

deferens, Dr. Zhou and/or Dr. Klausner created an elevated risk of injury to Mr. Gadson’s vasal

arteries and spermatic cord.

        42.     As a third mistake during the procedure, Dr. Klausner and/or Dr. Zhou used a

bovie cauterization device during the dissection of Mr. Gadson’s vas deferens.

        43.     When dissecting a patient’s vas deferens during a vasovasostomy, the standard of

care is to use bipolar cauterization, not bovie electrocautery.

        44.     Upon information and belief, as of August 20, 2015, Dr. Klausner did not know or

believe that, when dissecting a patient’s vas deferens during a vasovasostomy, using bipolar

cauterization, instead of electrocautery, reduces the risk of arterial damage during surgery.

        45.     Upon information and belief, as of August 20, 2015, Dr. Zhou did not know or

believe that, when dissecting a patient’s vas deferens during a vasovasostomy, using bipolar

cauterization, instead of electrocautery, reduces the risk of arterial damage during surgery.

        46.     Upon information and belief, as of August 20, 2015, Dr. Sulek did not know or

believe that, when dissecting a patient’s vas deferens during a vasovasostomy, using bipolar

cauterization, instead of electrocautery, reduces the risk of arterial damage during surgery.




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       47.     Further, the Society for Assisted Reproductive Technology 1 (“SART”) practice

consensus specifically states that it is the standard of care to use bipolar cauterization and not

electrocautery, and that electrocautery can cause vascular damage to the spermatic cord.

       48.     Upon information and belief, as of August 20, 2015, Dr. Klausner did not know or

believe that the SART practice consensus specifically stated that it was the standard of care to

use bipolar and not electrocautery, and that electrocautery can cause vascular damage to the

spermatic cord.

       49.     Upon information and belief, as of August 20, 2015, Dr. Zhou did not know or

believe that the SART practice consensus specifically stated that it was the standard of care to

use bipolar and not electrocautery, and that electrocautery can cause vascular damage to the

spermatic cord.

       50.     Upon information and belief, as of August 20, 2015, Dr. Sulek did not know or

believe that the SART practice consensus specifically stated that it was the standard of care to

use bipolar and not electrocautery, and that electrocautery can cause vascular damage to the

spermatic cord.

       51.     Similarly, studies that were available at the time of Mr. Gadson’s vasovasostomy

on August 20, 2015 indicated that bovie electrocautery was more likely than bipolar

electrocautery to transmit energy to adjacent tissue and cause arterial and/or tissue damage,

especially in areas with small delicate arteries and/or tissue like the scrotal region.

       52.     Upon information and belief, as of August 20, 2015, Dr. Klausner did not know or

believe that bovie electrocautery was more likely than bipolar electrocautery to transmit energy




1
 SART is an organization which provides urologists and microsurgeons guidance on standards
of care and best practices in reproductive medicine.


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to adjacent tissue and cause arterial and/or tissue damage, especially in areas with small delicate

arteries and/or tissue like the scrotal region.

          53.   Upon information and belief, as of August 20, 2015, Dr. Zhou did not know or

believe that bovie electrocautery was more likely than bipolar electrocautery to transmit energy

to adjacent tissue and cause arterial and/or tissue damage, especially in areas with small delicate

arteries and/or tissue like the scrotal region.

          54.   Upon information and belief, as of August 20, 2015, Dr. Sulek did not know or

believe that bovie electrocautery was more likely than bipolar electrocautery to transmit energy

to adjacent tissue and cause arterial and/or tissue damage, especially in areas with small delicate

arteries and/or tissue like the scrotal region.

          55.   By using electrocautery instead of bipolar cauterization, Dr. Klausner, Dr. Zhou,

and/or Dr. Sulek created an elevated risk of arterial and/or tissue damage in Mr. Gadson’s scrotal

region.

          56.   As a fourth mistake during the reconstruction portion of the procedure, Dr.

Klausner, Dr. Zhou, and/or other medical providers at McGuire VAMC failed to examine Mr.

Gadson’s vasal fluid for the presence of sperm.

          57.   During the reconstruction portion of a vasovasostomy, the standard of care

requires that the vasal fluid be examined microscopically for the identification of sperm.

          58.   Upon information and belief, as of August 20, 2015, Dr. Klausner did not know or

believe that, during the reconstruction portion of a vasovasostomy, microscopically examining

vasal fluid for the identification of sperm decreases the risk of post-operative infertility by

enabling surgeons to correct errors in the vasovasostomy before completing the procedure.




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       59.     Upon information and belief, as of August 20, 2015, Dr. Zhou did not know or

believe that, during the reconstruction portion of a vasovasostomy, microscopically examining

vasal fluid for the identification of sperm decreases the risk of post-operative infertility by

enabling surgeons to correct errors in the vasovasostomy before completing the procedure.

       60.     Upon information and belief, as of August 20, 2015, Dr. Sulek did not know or

believe that, during the reconstruction portion of a vasovasostomy, microscopically examining

vasal fluid for the identification of sperm decreases the risk of post-operative infertility by

enabling surgeons to correct errors in the vasovasostomy before completing the procedure.

       61.     By failing to microscopically examine Mr. Gadson’s vasal fluid for the

identification of sperm during his vasovasostomy on August 20, 2015, Dr. Klausner, Dr. Zhou,

and Dr. Sulek failed to reduce the risk of post-operative infertility.

       62.     As a fifth mistake during the procedure, Dr. Klausner and/or Dr. Zhou suspected

that Mr. Gadson had suffered a vascular injury, but failed to administer an intraoperative Doppler

to examine the blood flow to Mr. Gadson’s left testicle before finishing the operation.

       63.     Further, upon information and belief, no other medical providers at McGuire

VAMC, in addition to Dr. Klausner, Dr. Zhou, and Dr. Sulek, performed an intraoperative

Doppler to examine the blood flow to Mr. Gadson’s left testicle.

       64.     If a vascular injury or compromise is suspected during a vasovasostomy, the

standard of care requires a medical provider to use a Doppler ultrasonic probe.

       65.     Upon information and belief, as of August 20, 2015, Dr. Klausner knew or

believed that, if a vascular injury or compromise is suspected during a vasovasostomy, using a

Doppler ultrasonic probe enables a medical provider to accurately assess whether a testicle is

receiving adequate blood flow with greater reliability than visual examination.




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        66.    Upon information and belief, as of August 20, 2015, Dr. Zhou knew or believed

that, if a vascular injury or compromise is suspected during a vasovasostomy, using a Doppler

ultrasonic probe enables a medical provider to accurately assess whether a testicle is receiving

adequate blood flow with greater reliability than visual examination.

        67.    Upon information and belief, as of August 20, 2015, Dr. Sulek knew or believed

that, if a vascular injury or compromise is suspected during a vasovasostomy, using a Doppler

ultrasonic probe enables a medical provider to accurately assess whether a testicle is receiving

adequate blood flow.

        68.    Experienced    microsurgeons     and   surgeons    who   attempt   microsurgical

reconstruction should be comfortable with the use of intraoperative Microtip Doppler.

        69.    Upon information and belief, Dr. Klausner knew how to use an intraoperative

Microtip Doppler on August 20, 2015.

        70.    Upon information and belief, Dr. Zhou knew how to use an intraoperative

Microtip Doppler on August 20, 2015.

        71.    Upon information and belief, Dr. Sulek knew how to use an intraoperative

Microtip Doppler on August 20, 2015.

        72.    An intraoperative Microtip Doppler was available to Dr. Klausner, Dr. Zhou,

and/or Dr. Sulek during Mr. Gadson’s vasovasostomy at the McGuire VAMC on August 20,

2015.

        73.    By not using an intraoperative Microtip Doppler, neither Dr. Klausner, nor Dr.

Zhou, nor Dr. Sulek was able to determine whether Mr. Gadson had suffered arterial damage

during the procedure.




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       74.     Because neither Dr. Klausner, nor Dr. Zhou, nor Dr. Sulek identified Mr.

Gadson’s intraoperative arterial damage, they did not surgically correct the arterial damage

caused by the procedure.

       75.     The United States, through its agents, servants or employees at the McGuire

VAMC and its affiliates, was aware or should have been aware of the foregoing deficiencies in

the training and ability of Dr. Klausner, Dr. Zhou, and Dr. Sulek to perform Mr. Gadson’s

vasovasostomy.

       76.     By selecting Dr. Klausner, Dr. Zhou, and Dr. Sulek to perform Mr. Gadson’s

vasovasostomy, the United States, through its agents, servants or employees at the McGuire

VAMC, directly and proximately caused Mr. Gadson to receive a negligently performed

vasovasostomy by surgeons who were unqualified to perform that operation.

       77.     After Mr. Gadson’s vasovasostomy ended, Dr. Zhou came out of surgery to

discuss the operation with Mrs. Leerdam-Gadson. During this meeting, Dr. Zhou said that he and

Dr. Klausner “had a little bit of an issue, but we were able to fix it.” No further explanation was

offered.

       78.     Curiously, the post-operative report, which both Drs. Zhou and Klausner signed,

states: “Complications: none[.]”

       79.     At around 1:24 p.m. on August 20, 2015, the McGuire VAMC discharged Mr.

Gadson without any information or instructions relating to complications that arose during the

surgery.

       80.     Further, Mr. Gadson was not scheduled for a post-operative follow-up visit until

October 6, 2015 – more than six weeks after the surgery.




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       81.       Starting on August 21, 2015, Mr. Gadson began calling the McGuire VAMC to

complain of severe pain and symptoms consistent with a hematoma.

       82.       Mr. Gadson first called the McGuire VAMC at 3:40 p.m. on August 21, 2015.

During this call, Nurse Jacqueline French (“Nurse French”) noted that Mr. Gadson complained

of pain of 8/10. Nurse French’s notes make no mention of any complications that arose during

the surgery or how Mr. Gadson should monitor his symptoms in light of the surgical

complications.

       83.       Mr. Gadson called the McGuire VAMC again on August 22, 2015 to complain of

worsening symptoms.        Again, he received no particular disclosure or instructions about

complications that arose during the August 20, 2015 procedure.

       84.       Finally, on August 23, 2015, Mrs. Leerdam-Gadson called the McGuire VAMC

and spoke to Nurse Mollie E. Dixon (“Nurse Dixon”), who noted that Mr. Gadson “has not been

able to void and is having severe pain at #10 level.”         Although she saw no record of

complications from his surgery three days earlier, Nurse Dixon recommended that Mr. Gadson

immediately “go into the nearest hospital for medical care and medical intervention.”

       85.       Following Nurse Dixon’s instructions, Mr. Gadson presented to Henrico Doctors’

Hospital – Hanover Emergency Center, on August 23, 2015. From there, Mr. Gadson was

transferred to Henrico Doctors’ Hospital – Richmond Urology Department (“Richmond

Urology”).

       86.       At Richmond Urology, Mr. Gadson was treated by David E. Rapp, M.D. (“Dr.

Rapp”).

       87.       While trying to diagnose the cause of Mr. Gadson’s extreme pain and nausea, Dr.

Rapp called Dr. Klausner to discuss Mr. Gadson’s vasovasostomy. During this call, Dr. Rapp




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noted that Dr. Klausner “stated that he had a difficult vasectomy reversal on Thursday [August

20, 2015] in particular on the left side where the dissection was difficult and the site of the prior

vasectomy was extremely low with the testicle. He stated that there was some concern for the

vascular inflow to the testicle, although at the end of the procedure, the testicle did appear viable

and pink.”

        88.     Dr. Rapp’s note described in Paragraph 86 accurately reflects what Dr. Klausner

said during that call.

        89.     Later, while Mr. Gadson was being treated at Richmond Urology, Dr. Rapp

performed an ultrasound on Mr. Gadson’s scrotum, which showed that Mr. Gadson’s left testicle

was “[a]bsent blood flow.”

        90.     Later that evening, on August 23, 2015, after Dr. Rapp reviewed the ultrasound

with Mr. Gadson, Mr. Gadson agreed to undergo an operation to determine if the vascular

dysfunction surrounding his left testicle could be corrected. However, during this operation, Dr.

Rapp discovered that the lack of blood flow had rendered Mr. Gadson’s left testicle nonviable.

Consequently, Dr. Rapp removed Mr. Gadson’s left testicle via orchiectomy.

        91.     Since this August 23, 2015 corrective surgery, Mr. Gadson has undergone two

additional operations to correct the damage directly and proximately caused by the negligently

performed operation by the McGuire VAMC personnel including, but not limited to, Dr. Zhou

and Dr. Klausner on August 20, 2015.

        92.     Since his August 20, 2015, Mr. Gadson had to use a cane as a direct and

proximate result of the negligent operation by McGuire VAMC personnel (including, but not

limited to, Dr. Zhou and Dr. Klausner) on August 20, 2015.




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       93.      Moreover, as a direct and proximate result of the negligent operation by the

McGuire VAMC personnel (including, but not limited to, Dr. Zhou and Dr. Klausner) on August

20, 2015, Mr. Gadson could not have sexual intercourse with his wife without pain and

embarrassment, including bloody discharge from his testicles.

       94.     Further, as a direct and proximate result of the negligent operation by the

McGuire VAMC personnel (including, but not limited to, Dr. Zhou and Dr. Klausner) on August

20, 2015, Mr. Gadson has suffered and continues to suffer from permanent neurological damage,

including regular migraines and autonomic dysreflexia.

       95.     As a direct and proximate result of the negligent operation by the McGuire

VAMC (including, but not limited to, Dr. Zhou and Dr. Klausner) on August 20, 2015, Mr.

Gadson suffered extreme arterial damage. This extreme arterial damage has rendered Mr.

Gadson’s remaining testicle permanently incapable of producing sperm. Mr. Gadson has been

advised that he has no practicable chance to conceive his own biological children in the future.

       96.     Because Mr. Gadson’s urological and neurological injuries are permanent, his

care has shifted to pain management. At present, Mr. Gadson is in the process of determining if a

device planted near his spinal cord or his genitals, which is stimulated with a hand-held remote

control, will effectively disrupt intense bouts of pain during activities, including sexual

intercourse with his wife.

       97.     As a direct and proximate result of the negligent operation by the McGuire

VAMC personnel (including, but not limited to, Dr. Zhou and Dr. Klausner) on August 20, 2015,

Mr. Gadson has not been able to work and is effectively disabled.

       98.     As a direct and proximate result of the negligent operation by the McGuire

VAMC personnel (including, but not limited to, Dr. Zhou and Dr. Klausner) on August 20, 2015,




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Mr. Gadson has been unable to enjoy social and physical activities. As a 35 year old man who

previously enjoyed watching football with his friends, lifting weights, and playing recreational

sports with his stepsons, being forced into a sedentary, socially-restricted lifestyle, marked by

regular and debilitating bouts of pain, has reduced his quality of life immensely.

          99.    Finally, as a direct and proximate result of the negligent operation by the McGuire

VAMC personnel including, but not limited to, Dr. Zhou and Dr. Klausner on August 20, 2015,

Mr. Gadson has incurred over $100,000 in medical bills and lost wages.

                                             Negligence

          100. Mr. Gadson restates and re-alleges paragraphs 1 through 99 as if fully stated

herein.

          101. As a provider of medical services to Mr. Gadson, the United States and its agents,

servants or employees at the McGuire VAMC and its affiliates, including but not limited to Dr.

Sulek, Dr. Klausner, and Dr. Zhou, owed Mr. Gadson a duty to provide him medical care

consistent with the governing standard of medical care.

          102. Mr. Gadson alleges that the agents, servants, or employees of the United States at

the McGuire VAMC and its affiliates, including but not limited to Dr. Sulek, Dr. Klausner, and

Dr. Zhou, while acting within the scope of their employment, violated the applicable standards of

medical care in the following respects:

                 a.      Negligent performance of Mr. Gadson’s vasovasostomy by Dr. Klausner

          and Dr. Zhou, including a failure to properly supervise the surgery by Dr. Klausner,

          causing arterial damage to and around Mr. Gadson’s left testicle;




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           b.      Negligent failure to correct arterial damage to and around Mr. Gadson’s

    left testicle, caused by Drs. Klausner and Zhou during Mr. Gadson’s vasovasostomy,

    resulting in heightened risk of hematoma and testicular loss;

           c.      Negligent failure to document intra-operative complications in Mr.

    Gadson’s medical records (including arterial damage to and around Mr. Gadson’s left

    testicle, caused by Dr. Klausner and Dr. Zhou during Mr. Gadson’s vasovasostomy),

    resulting in the inability of subsequent medical providers to properly identify the source

    of Mr. Gadson’s eventual hematoma;

           d.      Negligent failure to disclose intra-operative complications to Mr. Gadson

    (including arterial damage to and around Mr. Gadson’s left testicle, caused by Dr.

    Klausner and Dr. Zhou during Mr. Gadson’s vasovasostomy), leading Mr. Gadson to

    delay obtaining emergency care until August 23, 2015;

           e.      Negligent failure to provide proper discharge instructions to Mr. Gadson

    or Mrs. Leerdam-Gadson regarding complications (including arterial damage to and

    around Mr. Gadson’s left testicle, caused by Dr. Klausner and Dr. Zhou during Mr.

    Gadson’s vasovasostomy), leading Mr. Gadson to delay obtaining emergency care until

    August 23, 2015;

           f.      Negligent discharge of Mr. Gadson in light of intra-operative

    complications (including arterial damage to and around Mr. Gadson’s left testicle caused

    by Dr. Klausner and Dr. Zhou during Mr. Gadson’s vasovasostomy), resulting in injury

    to Mr. Gadson;




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                 g.      Negligent handling of calls from Mr. Gadson relating to complaints of

         pain well beyond what would typically be expected with regard to the post-operative

         course of a patient who had undergone a vasovasostomy;

                 h.      Negligent failure to schedule timely follow-up to Mr. Gadson’s

         vasovasostomy in light of the intra-operative complications (including arterial damage to

         and around Mr. Gadson’s left testicle caused by Dr. Klausner and Dr. Zhou during Mr.

         Gadson’s vasovasostomy), which resulted in further injury to Mr. Gadson;

                 i.      Negligent credentialing of Dr. Klausner, Dr. Zhou, and/or other members

         of the surgical team, by employees of the McGuire VAMC, causing Mr. Gadson to be

         negligently operated on by medical providers who were unqualified to perform Mr.

         Gadson’s vasovasostomy in accordance with the applicable standard of care;

                 j.      Failure to obtain informed consent from Mr. Gadson prior to

         vasovasostomy; and

                 k.      Other negligent acts or omissions before, during, and/or subsequent to the

         course of treatment described above as will be developed through additional factual

         investigation, expert review, and discovery.

         103.    As a direct and proximate result of the foregoing breaches, Mr. Gadson suffered

all of the injuries described herein.

         WHEREFORE, Mr. Gadson respectfully requests that the Court grant judgment in his

 favor against the Defendant as prayed for above in the amount of Ten Million ($10,000,000),

 together with prejudgment interest and any other costs as he may be lawfully entitled to recover.




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                                        Respectfully submitted,

                                        EUGENE GADSON


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